314 F.2d 51
    UNITED STATES of America, ex rel. Albert SPADER, Petitioner-Appellant,v.John P. SHOVLIN, M. D., Superintendent, Farview State Hospital, Waymart, Pa., and George K. Henshaw, Interstate Supervisor, Harrisburg, Pennsylvania, Respondents-Appellees.
    No. 14182.
    United States Court of Appeals Third Circuit.
    Submitted February 5, 1963.
    Decided February 19, 1963.
    
      Albert Spader pro se.
      David B. Fitzgerald, Asst. Atty. Gen., Harrisburg, Pa. (Edgar R. Casper, Deputy Atty. Gen., David Stahl, Atty. Gen., Harrisburg, Pa., on the brief), for appellees.
      Before KALODNER, STALEY and SMITH, Circuit Judges.
      PER CURIAM.
    
    
      1
      This appeal is from the denial of a petition for a writ of habeas corpus in which the petitioner attacks as illegal: (1) his arrest and detention by the local police of South Amboy, New Jersey; (2) his conviction in the Middlesex County Court of New Jersey upon his plea of non vult to an indictment charging the possession of obscene pictures, in violation of N.J.S.A. 2A:115-2; (3) his subsequent surrender and transfer to the Pennsylvania Board of Parole; and (4) his commitment to, and present detention in, the Farview State Hospital in Pennsylvania.
    
    
      2
      It appears from the record that upon the petitioner's conviction in the Middlesex County Court of New Jersey, the imposition of sentence was suspended and he was thereupon surrendered to the Pennsylvania Board of Parole. Thereafter he was committed to the Philadelphia State Hospital, and from there transferred to the Farview State Hospital. The district judge found, and his finding is supported by the record, that the petitioner had failed to exhaust the remedies available in the courts of the State. The denial of the petition for a writ of habeas corpus was therefore proper. 28 U.S.C.A. § 2254.
    
    
      3
      The judgment of the court below will be affirmed.
    
    